
79 So. 3d 890 (2012)
Terence MERRIEL, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-3757.
District Court of Appeal of Florida, Fifth District.
February 17, 2012.
Terence Merriel, Lake City, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in Case No. 05-2008-CF-11679, in the Circuit Court in and for Brevard County, Florida. See Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
TORPY, PALMER and LAWSON, JJ., concur.
